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                    EXHIBIT 1
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  TEMUJIN KENSU, INDIVIDUALLY
  AND ON BEHALF OF ALL OTHERS
  SIMILARLY SITUATED,

                  Plaintiff,

        V.                                     Case No. 2:18-cv-11086-SFC-PTM

  JPAYINC.,                                    Hon. Sean F. Cox
                                               Mag. Judge Patricia T. Morris
                  Defendant.


  DECLARATION OF ATINUKE SODE IN SUPPORT OF DEFENDANTS'
            MOTION TO COMPEL ARBITRATION

       I, ATINUKE SODE, hereby certify pursuant to 28 U.S.C. § 1746 that the

 factual statements set forth below are true and correct to the best of my knowledge,

 information, and belief:

       1.     I am currently employed as a paralegal at JPay, Inc ("JPay"). I have

 personal knowledge of the facts set forth herein and if called and sworn as a witness,

 I could and would competently testify thereto.

       2.     In my role at JPay, I am familiar with JPay's Terms ofUse, alternatively

 titled Terms of Service and Warranty Policy (the "TOD"), the process for

 distributing the TOD to JPay customers, the process for accepting the TOU, the

 services offered by JPay to inmates in the custody of the Michigan Department of
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 Corrections ("MDOC") at times relevant to this action, and have access to JPay' s

 customer records.

       3.    A true and correct copy of JPay's TOU, as effective January 30, 2016,

is attached as Exhibit A.

      4.     A true and correct copy of JPay's TOU, as effective January 17, 2017,

is attached as Exhibit B.

      5.     A true and correct copy of JPay's TOU, as effective February 21, 2018,

is attached as Exhibit C.

      6.     Each version of JPay' s TOU, as used for customers in MDOC facilities,

contains a clause requiring arbitration of all disputes arising out of or related to the

agreement.

      7.     I have reviewed Plaintiff Temujin Kensu's customer records. The

following information is based on my review of those records.

      8.     Mr.     Kensu    initially   registered   to   use   JPay    services   on

February 12, 2012. Due to the significant number of complaints, often unmerited,

Mr. Kensu lodged about JPay's media services, his account was subsequently

suspended-with permission of a MDOC staff member-on June 18, 2013.

      9.     Between February 12, 2012 and June 18, 2013, JPay did not offer

:MDOC inmates the media services addressed in Plaintiffs complaint. During this

time, JPay offered MDOC inmates money transfer services and electronic
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 communication services, but did not offer electronic devices, associated media

 content, or device accessories.

       10.    Mr. Kensu's JPay account was reinstated on June 10, 2016, at the

request of Paul Slaughter, an Administrative Assistant at the Correctional Facilities

Administration.

       11.   Prior to making purchases on his reinstated account, Mr. Kensu was

required to accept the TOU as effective January 30, 2016, attached as Exhibit A.

Mr. Kensu would not be able to use JPay's services without accepting the TOU.

       12.   JPay's TOU is provided to MDOC inmates on-screen, through JPay's

inmate kiosks. Prior to being able to use JPay' s media services, customers are

required to create and register an account through JPay' s inmate kiosks. During the

registration process, customers are presented with the TOU for their review. In order

for the registration process to be completed, customers must review the TOU and

select a button labeled "I AGREE" to advance any further. If a customer declines to

accept the TOU, the customer will not be able to complete their registration, nor will

the customer have access to JPay's media services. In the event that JPay makes any

change to its TOU, customers must once again agree to the TOU through the inmate

kiosks in order to continue using JPay' s media services.

       13.   Mr. Kensu made multiple purchases of JPay "stamps", for use of

electronic communications services, beginning in June of 2016.
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        14.   On January 17, 2017, JPay issued a revised TOU, attached as Exhibit

 B. JPay customers who accessed JPay's services on or after January 17, 2017 were

required to accept JPay's revised TOU prior to making additional purchases from

JPay.

        15.   Mr. Kensu contacted JPay on January 24, 2017, to complain about the

terms of the TOU that he had agreed to.

        16.   Mr. Kensu ordered a tablet from JPay on March 1, 2017. This was Mr.

Kensu's first purchase of a JPay device.

        17.   In response to Mr. Kensu's customer complaints, JPay has issued Mr.

Kensu replacement tablets on May 17, 2017, August 28, 2017, November 22, 2017,

February 8, 2018, and again on March 22, 2018.

        18.   On February 21, 2018, JPay issued a revised TOU, attached as Exhibit

C. JPay customers who accessed JPay's services on or after February 21, 2018 were

required to accept JPay's revised TOU prior to making additional purchases from

JPay.

        19.   Mr. Kensu has made purchases from JPay as recently as May 22, 2018.

        20.   I declare to the best of my knowledge under penalty of perjury under

the laws of the United States that the for~         ~    =

Executed on June 1, 2018.                  ~                     -----
                                        Atinuke Sode
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                        Exhibit A
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                           Kiosk Terms of use Notepad.html
<html><b>TERMS OF USE</b><br>

BEFORE YOU USE THE JPAY KIOSK OR YOUR JPAY PLAYER AND THE SERVICES PROVIDED
THEREUNDER, YOU MUST READ AND AGREE TO THESE TERMS OF USE. IF YOU CANNOT READ OR
UNDERSTAND THESE TERMS OF USE, PLEASE CONTACT CORRECTIONAL STAFF FOR FURTHER
EXPLANATION AND CLARIFICATION.<br>

BY CLICKING THE “I AGREE” BUTTON, YOU ARE INDICATING THAT YOU CONSENT TO THIS
AGREEMENT.<br>

1.      <b>USE OF THE KIOSK, YOUR JPAY PLAYER AND RELATED SERVICES.</b> Your use of
the JPay Kiosk (“Kiosk”) is a privilege. Misuse of the Kiosk or causing damage to
the Kiosk may lead to denial of this privilege, administrative and disciplinary
sanctions, and/or legal action against you.<br>

These terms of use apply to all the services that may be accessed by you through the
Kiosk or your JP3, JP4, JP5 or JP5 Mini Player (each of which shall hereinafter be
referred to as a “Player”). These services may include email, video visitation,
VideoGrams, eCards, music, games, eBooks and / or educational materials (each a
“Service” and collectively, the “Services”). Each correctional facility shall
determine which Services shall be made available, in addition to the procedures and
guidelines that govern the use of the Services.<br>

You are permitted to use only those Services that you are authorized to use under
the jurisdictional administrative regulations applicable to you. PLEASE BE ADVISED
THAT ALL CORRESPONDENCE AND COMMUNICATIONS BETWEEN YOU AND OTHERS IN CONNECTION WITH
YOUR USE OF THE SERVICES ARE SUBJECT TO MONITORING, RECORDING, INTERCEPTION AND
DISCLOSURE, AND ARE NOT PROTECTED BY ATTORNEY-CLIENT PRIVILEGE.<br>

2.      <b>FEES AND REFUNDS.</b> Fees that are charged to you for certain of the
Services may include the suggested retail price for the Service, as well as
additional fees to cover infrastructure and network costs incurred by JPay in
connection with the provision of these Services. You may also be charged sales tax,
where required. Depending on your facility’s administrative regulations, refunds or
credits may be provided to you for certain of the Services, as described below.
Funds in your JPay Media Account are non-refundable and non-transferable. The
availability and prices of the Services are subject to change without notice.<br>

3.      <b>JPAY PLAYERS AND CONTENT.</b> All Player purchases are non-refundable.
By purchasing a Player, you agree to the Player’s Limited Warranty, which is
included on the JPay website or in the Kiosk’s frequently asked questions (“FAQs”),
depending on how the Player was purchased. If you have an issue with your Player
during the warranty period, you must submit a trouble ticket to the Kiosk’s help
desk.<br>

“Content” includes games, music, software, technology, text, books, sound, graphics,
pictures, video, code, and all audio visual or other material appearing on or
emanating to and/or from the Kiosk and / or Player. JPay does not guarantee the
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                           Kiosk Terms of use Notepad.html
accuracy or reliability of the Content or that it is error-free. You understand
that you may be exposed to Content that may be deemed offensive, indecent or
objectionable. You agree to use the Content at your sole risk and that JPay shall
have no liability to you for Content found to be offensive, indecent or
objectionable.<br>

JPay may change Content options without notice. On occasion, purchased Content may
become unavailable prior to download and previously purchased Content may be removed
from your player. In such cases, JPay will issue you a credit, which may be used
for a future purchase.<br>

The Content is provided for your personal, non-commercial entertainment use. All
Content embodies the intellectual property of a third party and is protected by law.
You agree not to modify, or attempt to modify, any Content for any reason
whatsoever, unless expressly authorized or stated within the applicable legal
notices. Content and all other intellectual property rights in or to the Content are
owned by JPay or JPay's third party licensors and is protected by United States and
international copyright, trade dress, patent, and trademark laws, international
conventions, and other laws protecting intellectual property and related proprietary
rights. In addition, unless expressly authorized by JPay or stated in the applicable
legal notices, you may not distribute, publicly perform or display, lease, sell,
transmit, transfer, publish, edit, copy, create derivative works from, rent,
sub-license, decompile, disassemble, reverse engineer or otherwise make unauthorized
use of the Content.<br>

THE KIOSK, PLAYER AND SERVICES ARE PROVIDED BY JPAY INC. ON AN "AS IS" AND "AS
AVAILABLE" BASIS. JPAY MAKES NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, EXPRESS
OR IMPLIED, AS TO THE OPERATION OF THE KIOSK, PLAYER OR SERVICES. YOU EXPRESSLY
AGREE THAT YOUR USE OF THE KIOSK, PLAYER AND SERVICES IS AT YOUR SOLE RISK.<br>

TO THE FULL EXTENT PERMISSIBLE BY APPLICABLE LAW, JPAY DISCLAIMS ALL WARRANTIES,
EXPRESS OR IMPLIED, INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF
MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE. JPAY (AS WELL AS ITS
OFFICERS, DIRECTORS, EMPLOYEES, AFFILIATES AND STOCKHOLDERS) WILL NOT BE LIABLE FOR
ANY DAMAGES OF ANY KIND ARISING FROM THE USE OF THE KIOSK, A PLAYER AND / OR THE
SERVICES, ANY NON-TRANSMITTAL OF A COMMUNICATION, OR FOR DELAY OR ERRONEOUS DELIVERY
OF A COMMUNICATION, REGARDLESS OF THE CAUSE, INCLUDING, WITHOUT LIMITATION, DIRECT,
INDIRECT, INCIDENTAL, PUNITIVE AND CONSEQUENTIAL DAMAGES.<br>

CERTAIN STATE LAWS DO NOT ALLOW LIMITATIONS ON IMPLIED WARRANTIES OR THE EXCLUSION
OR LIMITATION OF CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR ALL OF THE
ABOVE DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU, AND YOU MAY HAVE
ADDITIONAL RIGHTS.<br>

4.      <b>GOVERNING LAW.</b> This Agreement and the rights of the parties hereunder
shall be governed by and construed in accordance with the laws of the State of
Florida, exclusive of conflict or choice of law rules.<br>

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                           Kiosk Terms of use Notepad.html
5.      <b>DISPUTE RESOLUTION.</b><br>
a)      Any dispute, claim or controversy among the parties arising out of or
relating to this Agreement (“Dispute”) shall be finally resolved by and through
binding arbitration administered by JAMS pursuant to its Comprehensive Arbitration
Rules and Procedures and in accordance with the Expedited Procedures in those Rules
(the “JAMS Rules”), provided that failure to adhere to any of the time limits set
forth therein shall not be a basis for challenging the award. Both the foregoing
agreement of the parties to arbitrate any and all Disputes, and the results,
determinations, findings, judgments and/or awards rendered through any such
arbitration, shall be final and binding on the parties and may be specifically
enforced by legal proceedings in any court of competent jurisdiction.<br>

b)      The arbitration shall be conducted by three arbitrators. Each party shall
select one arbitrator within 30 days of commencement of the arbitration, failing
which, upon request of any party, JAMS shall appoint such arbitrator. The third
arbitrator, who shall serve as Chairperson of the arbitral panel, shall be appointed
by JAMS pursuant to Rule 15 of the JAMS Rules. The arbitrators must apply the terms
of this arbitration agreement, including without limitation, the waiver of
class-wide arbitration set forth below.<br>

c)      The place of arbitration shall be Miami, Florida (provisions will be made
for telephonic appearances if necessary or required). If arbitration in Miami
,Florida is contrary to law, the arbitration shall be conducted in the city of your
incarceration.<br>

d)      The cost of the arbitration proceeding, including, without limitation, each
party's attorneys' fees and costs, shall be borne by the unsuccessful party or, at
the discretion of the arbitrators, may be prorated between the parties in such
proportion as the arbitrators determine to be equitable and shall be awarded as part
of the award.<br>

e)      The arbitration provisions set forth herein, and any arbitration conducted
thereunder, shall be governed exclusively by the Federal Arbitration Act, Title 9
United States Code, to the exclusion of any state or municipal law of
arbitration.<br>

f)      RESTRICTIONS ON ARBITRATION: ALL DISPUTES, REGARDLESS OF THE DATE OF ACCRUAL
OF SUCH DISPUTE, SHALL BE ARBITRATED ON AN INDIVIDUAL BASIS. YOU ARE WAIVING YOUR
RIGHT TO PARTICIPATE IN A CLASS ACTION LAWSUIT, AND TO CERTAIN DISCOVERY AND OTHER
PROCEDURES THAT ARE AVAILABLE IN A LAWSUIT. YOU AND JPAY AGREE THAT THE ARBITRATORS
HAVE NO AUTHORITY TO ORDER CONSOLIDATION OR CLASS ARBITRATION OR TO CONDUCT
CLASS-WIDE ARBITRATION PROCEEDINGS, AND ARE ONLY AUTHORIZED TO RESOLVE THE
INDIVIDUAL DISPUTES BETWEEN YOU AND JPAY ALONE. FURTHER, YOU WILL NOT HAVE THE
RIGHT TO CONSOLIDATION OR JOINDER OF INDIVIDUAL DISPUTES OR ARBITRATIONS, TO HAVE
ANY DISPUTE ARBITRATED ON A CLASS ACTION BASIS, OR TO PARTICIPATE IN A
REPRESENTATIVE CAPACITY OR AS A MEMBER OF ANY CLASS PERTAINING TO ANY CLAIM SUBJECT
TO ARBITRATION.<br>

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                           Kiosk Terms of use Notepad.html
g)      THE VALIDITY, EFFECT, AND ENFORCEABILITY OF THE FOREGOING WAIVER OF CLASS
ACTION LAWSUIT AND CLASS-WIDE ARBITRATION, IF CHALLENGED, ARE TO BE DETERMINED SOLEY
AND EXCLUSIVELY BY FEDERAL DISTRICT COURT LOCATED IN THE SOUTHERN DISTRICT OF
FLORIDA OR FLORIDA STATE COURT IN MIAMI-DADE COUNTY AND NOT BY JAMS OR ANY
ARBITRATOR.<br>

h)      WITHOUT WAIVING THE RIGHT TO APPEAL SUCH DECISION, SHOULD ANY PORTION OF
SECTION 5(F) BE STRICKEN FROM THIS AGREEMENT OR DEEMED OTHERWISE INVALID OR
UNENFORCEABLE, THEN THIS ENTIRE SECTION 5 (OTHER THAN THIS SENTENCE) SHALL BE
STRICKEN FROM THIS AGREEMENT AND INAPPLICABLE, AND ANY AND ALL DISPUTES SHALL
PROCEED IN FEDERAL DISTRICT COURT LOCATED IN THE SOUTHERN DISTRICT OF FLORIDA OR
FLORIDA STATE COURT IN MIAMI-DADE COUNTY AND BE DECIDED BY A JUDGE, SITTING WITHOUT
A JURY, ACCORDING TO APPLICABLE COURT RULES AND PROCEDURES, AND NOT AS A CLASS
ACTION LAWSUIT.<br>

These terms of use may be modified by JPay at any time.   You will be notified of any
changes to these terms of use.

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                        Exhibit B
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                                TERMS OF SERVICE AND WARRANTY POLICY



 BEFORE YOU USE THE JPAY KIOSK OR YOUR JPAY PLAYER AND THE SERVICES PROVIDED THEREUNDER,
 YOU MUST READ AND AGREE TO THESE TERMS OF SERVICE AND WARRANTY POLICY (THE
 “AGREEMENT”). WE MAY AMEND THIS AGREEMENT AT ANY TIME. YOU AGREE TO BE BOUND BY THE
 CHANGED TERMS AND CONDITIONS OF THIS AGREEMENT UPON YOUR ACCEPTANCE. ANY RIGHTS
 NOT EXPRESSLY GRANTED HEREIN ARE RESERVED BY JPAY. IF YOU CANNOT READ OR UNDERSTAND
 THESE TERMS OF SERVICE AND WARRANTY POLICY, PLEASE CONTACT CORRECTIONAL STAFF FOR
 FURTHER EXPLANATION AND CLARIFICATION.

  BY CLICKING THE “I AGREE” BUTTON, YOU ARE INDICATING THAT YOU CONSENT TO THIS
  AGREEMENT.

 1. USE OF THE KIOSK, YOUR JPAY PLAYER AND RELATED SERVICES. Your use of the JPay Kiosk
  (“Kiosk”) is a privilege. Misusing or damaging the Kiosk may lead to denial of this privilege,
  administrative and disciplinary sanctions, and/or legal action against you.

 These terms of service and warranty policy apply to all services you may access through the Kiosk or
 your JP3, JP4, JP5, JP5S, or JP5 Mini Player (each of which shall be referred to as a “Player”). These
 services include, but are not limited to, stamp purchases, email, VideoGrams, eCards, video visitation,
 phone account funding, music, games, video content, news, audio and eBooks, educational materials,
 and/or Player and Player accessory purchases (each a “Service” and collectively, the “Services”). Each
 correctional facility will determine which Services will be made available to you, in addition to the
 procedures and guidelines that govern the use of the Services.

 You are permitted to use only those Services that you are authorized to use under the jurisdictional
 administrative regulations applicable to you. ALL EMAIL AND OTHER CORRESPONDENCE AND
 COMMUNICATIONS BETWEEN YOU AND OTHERS IN CONNECTION WITH YOUR USE OF THE SERVICES
 ARE SUBJECT TO MONITORING, RECORDING, INTERCEPTION AND DISCLOSURE, AND ARE NOT
 PROTECTED BY ATTORNEY-CLIENT PRIVILEGE. If an email is censored or deleted, any attachments to
 that email will also be removed from your account. Each email communication you send is subject to a
 character limit, and the number of emails which can be stored in your inbox are limited as well. Please
 check the Frequently Asked Questions (“FAQ”) for the limits applied to your facility.


 2. FEES AND REFUNDS. Fees charged to you for certain of the Services may include the suggested
  retail price for the Service, as well as additional fees to cover infrastructure and network costs incurred
  by JPay in connection with the provision of these Services. You may also be charged sales tax where
  required. Depending on your facility’s administrative regulations, refunds or credits may be provided to
  you for certain of the Services, as described below. You will not, however, be entitled to a refund due to
  your inability to access any of the Services as a result of any downtime experienced by the Kiosks, your
  Player, or any of the specific Services.


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 The transfer of funds to your JPay Media Account is a non-refundable transaction, and funds in such
 Media Account are not transferable. JPay may make a deduction from your Media Account because of a
 dispute, legal process, reversed deposit, fees, a correction to your account, or other similar reasons. If
 such a deduction is necessary, notification will be provided to you. The availability and prices for the
 Services are subject to change without notice.

 If the facility in which you reside permits stamp purchases from your trust and / or JPay Media Accounts,
 such purchases may not be canceled, are non-refundable and any unused stamps will not be refunded.
 If the facility in which you reside permits debit phone time account funding from your trust account,
 such purchases may also not be canceled and are non-refundable.


 3.   JPAY PLAYERS AND CONTENT. All Player purchases are non-refundable. By purchasing a Player,
  you agree to the Player’s Limited Warranty listed in the following section as well as the Kiosk’s
  Frequently Asked Questions. If you have an issue with your Player during the warranty period, you must
  submit a trouble ticket to the JPay Help Desk on the Kiosk.

 The Player will ship to the correctional facility at which you reside at the time of purchase within forty-
 five (45) business days from the date of purchase. Depending on your facility’s own procedures, it may
 take additional time for the correctional facility staff to deliver the Player to you. JPay is not responsible
 for delays in delivery due to the actions or decisions of the correctional facility or events beyond JPay’s
 control, including shortage of materials, labor strikes, transportation failure, lockdown, facility
 disruption, inclement weather or acts of God.

 As used in this Agreement, “Content” includes content and components thereof purchased from JPay,
 including games, music, news, software, technology, text, books, sound, graphics, pictures, video, code,
 and all audiovisual or other material appearing on or transmitted to and/or from the Kiosk and/or
 Player. JPay does not guarantee the accuracy or reliability of the Content or that it is error-free. You
 understand that you may be exposed to Content that may be deemed offensive, indecent, or
 objectionable. You agree to use the Content at your sole risk and that JPay will have no liability to you
 for Content found to be offensive, indecent, or objectionable.

 JPay may change Content options without notice. The download time or functionality of any of our
 Services may vary depending on the network and connectivity at your facility. On occasion, purchased
 Content may become unavailable prior to download and previously purchased and downloaded Content
 may be removed from your Player while you are a resident at the correctional facility. In such cases,
 JPay will issue you a credit, which may be used for a future purchase while you are a resident at a
 correctional facility in the state agency from which you purchased the Content. If JPay provides you
 with a replacement Player pursuant to the terms of the warranty or if you or a friend or family member
 purchase a new Player, previously downloaded news Content will not be accessible on the new Player.

 The Content is provided for your personal, non-commercial entertainment use. During your
 incarceration, you may only access and view the Content and/or Services while you are a resident at a
 correctional facility in the state agency where you purchased such Content and/or Services.


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 All Content embodies the intellectual property of a third party and is protected by law. You agree not to
 modify, or attempt to modify, any Content for any reason whatsoever, unless expressly authorized or
 stated within the applicable legal notices. Content and all other intellectual property rights in or to the
 Content are owned by JPay or JPay's third party licensors and is protected by United States and
 international copyright, trade dress, patent, and trademark laws, international conventions, and other
 laws protecting intellectual property and related proprietary rights. In addition, unless expressly
 authorized by JPay or stated in the applicable legal notices, you shall not distribute, publicly perform or
 display, lease, sell, transmit, transfer, publish, edit, copy, create derivative works from, rent, sub-license,
 decompile, disassemble, reverse engineer, or otherwise make unauthorized use of the Content.

 After Your Release

 After your release from the correctional facility, you may have the security features removed from your
 Player (“unlocked”) so that certain Content may be accessible to you outside of the correctional facility.
 This only applies to Players that were purchased by you or a friend or family member.

 To have your Player unlocked, you must mail in the Player and include the following in the package:
     • Player
     • Your Inmate ID #
     • Telephone Number
     • Return Mailing Address

 Please mail the Player package to:
 JPay Inc.
 ATTN: Inventory Department
 12034 Miramar Parkway
 Miramar, FL 33025

 Upon receipt of the Player by JPay, if JPay determines the Player is functioning, games and music
 purchases downloaded on the device and music in your library at the time of your release will be made
 accessible to you through your unlocked Player. JPay will mail to you the unlocked Player containing
 those games and music and, if necessary, a USB drive containing music in your library. Any saved emails
 and their attachments will not be made available to you upon your release.

 If JPay determines that the Player is not functioning, JPay will return to you the non-functioning Player
 along with a USB drive containing your music purchases only. Games and any saved emails and their
 attachments will not be included with the USB contents.

 Please allow up to forty-five (45) business days for delivery of the unlocked Player or USB drive. After
 forty-five (45) business days, you may follow up on the status of your unlocked Player or USB drive by
 contacting JPay via email at tabletunlocksupport@jpay.com.
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 Movies, Television Shows, and Other Video Rentals
 In certain correctional facilities, JPay may make available for rental and viewing a selection of full-length
 movies, episodes of television shows, and other videos (collectively hereafter referred to as "Video
 Content"). This Video Content is available for a limited viewing period only and is not a permanent
 download. Beginning when you first rent the Video Content, it will be available on your Player for a
 period of thirty (30) days (the "rental period"). After the rental period ends, the Video Content will
 delete from your Player, whether or not you have viewed the Video Content. If you wish to view the
 Video Content after the rental period ends, you must rent it again. Within the thirty (30)-day rental
 period, when playback of the Video Content first begins you will have forty-eight (48) hours to view the
 content, after which the Video Content will delete from your Player. In this case, the Video Content will
 be listed as “Expired” with the option to rent it again (if it is still available for rent). Note that if you
 begin watching the Video Content on the last day of the thirty (30)-day rental period, you will only have
 until midnight that day to finish viewing, not the full forty-eight (48) hours.

 This Video Content service is only available in the correctional facilities. Once you are released, JPay will
 no longer provide the rental service to you, even if you retain ownership of your Player.

 4. PLAYER LIMITED WARRANTY. JPay warrants that the Player will be free from material defects in
 design and manufacture and will substantially conform to the published specifications under normal use
 for a period of ninety (90) days following the date on which you first connect the Player to the Kiosk. In
 certain states, the warranty period may be longer. Please check the FAQs for the warranty period
 applicable at your facility. This warranty is provided to you and is not transferable. The warranty is void
 if the product is not used in accordance with the product instructions, or if it is damaged as a result of
 misuse, unauthorized repair, modification or accident. JPay shall not be liable if a certain component,
 accessory, or feature is not available on the Player due to restrictions imposed by the applicable
 correctional facility.

 To obtain warranty service, you must submit a Trouble Ticket to the JPay Help Desk on the Kiosk. JPay
 will attempt to troubleshoot the issue. If further assistance is needed, JPay will repair or replace the
 product or any portion thereof with a new or refurbished product of equal or greater capacity and
 functionality. A replacement Player assumes (i) the remaining warranty time available on the original
 Player (which is calculated from the date that you first submit a Trouble Ticket), or (ii) a warranty period
 of thirty (30) days following the date the replacement Player is delivered to the facility in which you
 reside, whichever date is later.

 JPay will repair or replace any defective earbud headphones (that accompanied your Player) if you
 submit a Trouble Ticket within two (2) weeks of your receipt of the earbud headphones. If you are a
 resident of a correctional facility in the State of Idaho, however, you will have thirty (30) days to submit
 the Trouble Ticket regarding the defective earbud headphones.

 If JPay determines that you qualify for a replacement Player or earbud headphones under our Return
 Merchandise Authorization (RMA) process, JPay will ship the replacement product to the correctional

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 facility at which you reside within forty-five (45) business days from the date the Trouble Ticket
 generating the RMA was submitted. Depending on your facility’s own procedures, it may take additional
 time for the correctional facility staff to deliver the Player to you. JPay will not be responsible for delays
 in delivery due to the actions or decisions of the correctional facility or events beyond JPay’s control,
 including shortage of materials, labor strikes, transportation failure, lockdown, facility disruption,
 inclement weather or acts of God.

 JPay does not warrant, and shall not be responsible for, any lost Content or data contained in the Player
 regardless of the cause of the loss. JPay's products are not warranted to operate without failure. This
 warranty gives you specific legal rights, and you may also have other rights which vary by jurisdiction.

 JPay is not responsible for damage to the Player arising from failure to follow instructions relating to the
 Player’s use. This warranty does not apply to: (a) cosmetic damage, including but not limited to,
 scratches and dents; (b) damage caused by accident, abuse, misuse, liquid spill or submersion, flood,
 fire, earthquake, or other external causes; (c) damage caused by service on the Player performed by
 anyone who is not a JPay representative; (d) a Player that has been modified; or (e) a Player confiscated
 by correctional staff.


 5. PLAYER ACCESSORIES. If the correctional facility in which you reside permits the purchase of
 accessories, including but not limited to, USB cables, barrel chargers, headphones and/or armbands
 (each an “Accessory” and collectively, the “Accessories”), such purchases are non-refundable. By
 purchasing an Accessory, you agree to the Accessory’s Warranty listed in the following section as well as
 the Kiosk’s Frequently Asked Questions. If you have an issue with your Accessory during the warranty
 period, you must submit a trouble ticket to the JPay Help Desk.

 JPay will not be liable for any loss, destruction or damage to the Accessory. JPay provides the Accessory
 subject to the rules and policies of your correctional facility. You may only own one of each Accessory
 available.

 Accessories must be used in compliance with all applicable laws, rules and regulations. Use of the
 Accessory is a privilege and misuse may lead to denial of this privilege, confiscation of the Accessory,
 administrative and disciplinary sanctions, and/or legal action.

 JPay will ship Accessories to the correctional facility at which you resided at the time of purchase within
 fifteen (15) business days from the date of purchase. Depending on your facility’s own procedures, it
 may take additional time for the correctional facility staff to deliver the Accessory to you. JPay is not
 responsible for delays in delivery due to the actions or decisions of the correctional facility or events
 beyond JPay’s control, including shortage of materials, labor strikes, transportation failure, lockdown,
 facility disruption, inclement weather, or acts of God.


 6. ACCESSORY LIMITED WARRANTY. JPay warrants that the Accessory will be free from material
 defects in design and manufacture and will substantially conform to the published specifications under
 normal use for a period of sixty (60) days following the date the Accessory was purchased. This

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 warranty is provided to you and is not transferable. The warranty is void if the product is not used in
 accordance with the product instructions, or if it is damaged as a result of misuse, unauthorized repair,
 modification, or accident. This sixty (60)-day warranty period applies only to Accessories purchased
 separately from any Player.

 To obtain warranty service, you must submit a Trouble Ticket to the JPay Help Desk within the sixty (60)-
 day warranty period. JPay will attempt to troubleshoot the issue. If further assistance is needed, JPay
 will repair or replace the product or any portion thereof with a new or refurbished product of equal or
 greater capacity and functionality. A replacement Accessory assumes (i) the remaining warranty time
 available on the original Accessory (which is calculated from the date that you first submit a Trouble
 Ticket), or (ii) a warranty period of thirty (30) days following the date the replacement Accessory is
 delivered to the facility in which you reside, whichever date is later.

 JPay will ship replacement Accessories to the correctional facility at which you resided at the time the
 replacement was requested within fifteen (15) business days from JPay’s approval of the replacement.
 Depending on your facility’s own procedures, it may take additional time for the correctional facility
 staff to deliver the replacement Accessory to you. JPay is not responsible for delays in delivery due to
 the actions or decisions of the correctional facility or events beyond JPay’s control, including shortage of
 materials, labor strikes, transportation failure, lockdown, facility disruption, inclement weather, or acts
 of God.

 JPay is not responsible for damage arising from failure to follow instructions relating to the product’s
 use. This warranty does not apply: (a) to cosmetic damage, including but not limited to, scratches and
 dents; (b) to damage caused by accident, abuse, misuse, liquid spill or submersion, flood, fire,
 earthquake or other external causes; (c) to damage caused by service performed by anyone who is not a
 representative of JPay; or (d) to an Accessory that has been confiscated by correctional staff.

 Notwithstanding the foregoing, JPay provides the Accessory subject to the rules and policies of each
 applicable correctional facility.

 THE FOREGOING IS JPAY’S SOLE WARRANTY. JPAY DISCLAIMS ALL OTHER EXPRESS AND IMPLIED
 WARRANTIES TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW. JPAY IS NOT LIABLE OR
 RESPONSIBLE FOR ANY AMOUNT OF DAMAGES ABOVE THE AGGREGATE DOLLAR AMOUNT PAID BY YOU
 FOR THE PURCHASE OF THE PLAYER AND/OR ACCESSORY. SOME STATES DO NOT ALLOW THE
 EXCLUSION OR LIMITATION OF INCIDENTAL OR CONSEQUENTIAL DAMAGES, SO THE ABOVE LIMITATION
 OR EXCLUSION MAY NOT APPLY TO YOU.

 THE KIOSK, PLAYER, CONTENT, AND SERVICES ARE PROVIDED BY JPAY INC. ON AN "AS IS" AND "AS
 AVAILABLE" BASIS. JPAY MAKES NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, EXPRESS OR
 IMPLIED, AS TO THE OPERATION OF THE KIOSK, PLAYER, OR SERVICES. YOU EXPRESSLY AGREE THAT
 YOUR USE OF THE KIOSK, PLAYER, AND SERVICES IS AT YOUR SOLE RISK.

 TO THE FULL EXTENT PERMISSIBLE BY APPLICABLE LAW, JPAY DISCLAIMS ALL WARRANTIES, EXPRESS OR
 IMPLIED, INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY AND FITNESS
 FOR A PARTICULAR PURPOSE. JPAY (AS WELL AS ITS OFFICERS, DIRECTORS, EMPLOYEES, AFFILIATES,
 AND STOCKHOLDERS) WILL NOT BE LIABLE FOR ANY DAMAGES OF ANY KIND ARISING FROM THE USE OF
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 THE KIOSK, A PLAYER, AN ACCESSORY AND / OR THE SERVICES, ANY NON-TRANSMITTAL OF A
 COMMUNICATION, OR FOR DELAY OR ERRONEOUS DELIVERY OF A COMMUNICATION, REGARDLESS OF
 THE CAUSE, INCLUDING, WITHOUT LIMITATION, DIRECT, INDIRECT, INCIDENTAL, PUNITIVE, AND
 CONSEQUENTIAL DAMAGES.

 CERTAIN STATE LAWS DO NOT ALLOW LIMITATIONS ON IMPLIED WARRANTIES OR THE EXCLUSION OR
 LIMITATION OF CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR ALL OF THE ABOVE
 DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU, AND YOU MAY HAVE
 ADDITIONAL RIGHTS.

 7. GOVERNING LAW. This Agreement and the rights of the parties hereunder shall be governed by
 and construed in accordance with the laws of the State of Florida, exclusive of conflict or choice of law
 rules.

 8.   DISPUTE RESOLUTION.
 THIS AGREEMENT REQUIRES THE USE OF ARBITRATION ON AN INDIVIDUAL BASIS TO
 RESOLVE DISPUTES, RATHER THAN JURY TRIALS OR CLASS ACTIONS.
 About Arbitration:

 In the event JPay is unable to resolve a complaint you may have to your satisfaction (or if JPay has not
 been able to resolve a dispute it has with you after attempting to do so), we each agree to resolve those
 disputes through binding arbitration instead of in court. Arbitration is more informal than a lawsuit in
 court. Arbitration uses neutral arbitrators instead of a judge or jury, allows for more limited discovery
 than in court, and is subject to very limited review by courts. Any arbitration under this Agreement will
 take place on an individual basis; class arbitrations and in court class actions are not permitted.

 Arbitration Agreement:

 a)       Any dispute, claim or controversy among the parties arising out of or relating to this Agreement
 (“Dispute”) shall be finally resolved by and through binding arbitration administered by JAMS pursuant
 to its Comprehensive Arbitration Rules and Procedures and in accordance with the Expedited
 Procedures in those Rules (the “JAMS Rules”), provided that failure to adhere to any of the time limits
 set forth therein shall not be a basis for challenging the award.

 You may obtain copies of the current rules and forms and instructions for initiating arbitration by
 contacting JAMS in any of the following ways:

 By mail:
 JAMS, The Resolution Experts
 600 Brickell Avenue, Suite 2600
 Miami, FL 33131
 Web site: www.jamsadr.com
 Telephone (949) 224-1810 or (800) 352-5267



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 Online:
 Web site: www.jamsadr.com

 By telephone:
 (949) 224-1810 or (800) 352-5267

 You agree that, by entering into this Agreement, you and JPay are each waiving the right to a trial by
 jury or to participate in a class action or class arbitration. Both the foregoing agreement of the parties
 to arbitrate any and all Disputes, and the results, determinations, findings, judgments and/or awards
 rendered through any such arbitration, shall be final and binding on the parties and may be specifically
 enforced by legal proceedings in any court of competent jurisdiction.

 b)       The arbitration shall be conducted by three (3) arbitrators (unless the parties mutually agree to
 less). Each party shall select one arbitrator within thirty (30) days of commencement of the arbitration,
 failing which, upon request of any party, JAMS shall appoint such arbitrator. The third arbitrator, who
 shall serve as Chairperson of the arbitral panel, shall be appointed by JAMS pursuant to Rule 15 of the
 JAMS Rules. The arbitrators must apply the terms of this arbitration agreement, including without
 limitation, the waiver of class-wide arbitration set forth below.



 c)       The place of arbitration shall be Miami, Florida (provisions will be made for telephonic
 appearances if necessary or required). If arbitration in Miami, Florida is contrary to law, the arbitration
 shall be conducted in the city of your incarceration.



 d)      The cost of the arbitration proceeding, including, without limitation, each party's attorneys' fees
 and costs, shall be borne by the unsuccessful party or, at the discretion of the arbitrators, may be
 prorated between the parties in such proportion as the arbitrators determine to be equitable and shall
 be awarded as part of the award.



 e)       The arbitration provisions set forth herein, and any arbitration conducted thereunder, shall be
 governed exclusively by the Federal Arbitration Act, Title 9 United States Code, to the exclusion of any
 state or municipal law of arbitration.



 f)     RESTRICTIONS ON ARBITRATION: ALL DISPUTES, REGARDLESS OF THE DATE OF ACCRUAL OF
 SUCH DISPUTE, SHALL BE ARBITRATED ON AN INDIVIDUAL BASIS. YOU ARE WAIVING YOUR RIGHT TO
 PARTICIPATE IN A CLASS ACTION LAWSUIT, AND TO CERTAIN DISCOVERY AND OTHER PROCEDURES
 THAT ARE AVAILABLE IN A LAWSUIT. FURTHER, YOU ARE WAIVING, AND WILL NOT HAVE, THE RIGHT TO
 CONSOLIDATION OR JOINDER OF INDIVIDUAL DISPUTES OR ARBITRATIONS, TO HAVE ANY DISPUTE
 ARBITRATED ON A CLASS ACTION BASIS, OR TO PARTICIPATE IN A REPRESENTATIVE CAPACITY OR AS A

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 MEMBER OF ANY CLASS PERTAINING TO ANY CLAIM SUBJECT TO ARBITRATION. FURTHER, YOU AND
 JPAY AGREE THAT THE ARBITRATORS HAVE NO AUTHORITY TO ORDER CONSOLIDATION OR CLASS
 ARBITRATION OR TO CONDUCT ANY FORM OF REPRESENTATIVE OR CLASS-WIDE ARBITRATION
 PROCEEDINGS, AND ARE ONLY AUTHORIZED TO RESOLVE THE INDIVIDUAL DISPUTES BETWEEN YOU
 AND JPAY ALONE.



 g)     THE SCOPE, VALIDITY, EFFECT, AND ENFORCEABILITY OF THE FOREGOING WAIVER OF CLASS
 ACTION LAWSUIT AND REPRESENTATIVE OR CLASS-WIDE ARBITRATION ARE TO BE DETERMINED SOLELY
 AND EXCLUSIVELY BY THE FEDERAL DISTRICT COURT LOCATED IN THE SOUTHERN DISTRICT OF FLORIDA
 OR FLORIDA STATE COURT IN MIAMI-DADE COUNTY AND NOT BY JAMS OR ANY ARBITRATOR. IF A
 LAWSUIT IS FILED TO ENFORCE THESE WAIVERS THE PARTIES AGREE THAT THE ARBITRATION SHALL BE
 IMMEDIATELY STAYED, BY AGREEMENT OR COURT ORDER, UNTIL THE COURT CASE IS RESOLVED AND
 ALL APPELLATE REVIEW IS EXHAUSTED. THE COST OF PROCEEDINGS UNDER THIS SECTION, INCLUDING,
 WITHOUT LIMITATION, EACH PARTY'S ATTORNEYS' FEES AND COSTS, SHALL BE BORNE BY THE
 UNSUCCESSFUL PARTY.

 h)       WITHOUT WAIVING THE RIGHT TO APPEAL SUCH DECISION, SHOULD ANY PORTION OF SECTION
 (8)(f) BE STRICKEN FROM THIS AGREEMENT OR DEEMED OTHERWISE INVALID OR UNENFORCEABLE,
 THEN THIS ENTIRE SECTION 8 (OTHER THAN THIS SENTENCE) SHALL BE STRICKEN FROM THIS
 AGREEMENT AND INAPPLICABLE, AND ANY AND ALL DISPUTES SHALL PROCEED IN FEDERAL DISTRICT
 COURT LOCATED IN THE SOUTHERN DISTRICT OF FLORIDA OR FLORIDA STATE COURT IN MIAMI-DADE
 COUNTY AND BE DECIDED BY A JUDGE, SITTING WITHOUT A JURY, ACCORDING TO APPLICABLE COURT
 RULES AND PROCEDURES, AND NOT AS A CLASS ACTION LAWSUIT.


 9. TIME LIMIT FOR FILING CLAIMS. As a condition precedent to recovery, all claims under this
 Agreement (other than warranty claims which are subject to the time limits set forth in Sections 4 and 6)
 must be filed in writing or electronically with JPay within six (6) months of your constructive knowledge
 that the alleged issue occurred.

 Further, any demand for arbitration must be filed no later than one (1) year after your constructive
 knowledge that the alleged issue occurred.

 Where claims are not filed or arbitration is not instituted thereon in accordance with the foregoing
 provisions, such claims shall be deemed waived and will not be paid.


 10. INDEMNIFICATION. To the maximum extent permitted by law, you agree to defend, indemnify and
 hold harmless JPay, its affiliates and their respective directors, officers, employees and agents from and
 against any and all third party claims, actions, suits or proceedings, as well as any and all losses, liabilities,
 damages, costs and expenses (including reasonable attorney’s fees) arising out of or accruing from (a)
 your breach of this Agreement, and (b) your use of the Services.




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 11. SEVERABILITY. If any provision of the Agreement shall be ruled unenforceable, then the remainder
 shall be enforced to the extent permissible.


 12. ENTIRE AGREEMENT. This Agreement sets forth the entire agreement with respect to the subject
 matter hereof. The Agreement may not be altered, supplemented, or amended by the use of any other
 document(s). Notwithstanding the foregoing, the rules and policies of the applicable correctional facility
 may also govern the sale and use of the Player.




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                        Exhibit C
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                                TERMS OF SERVICE AND WARRANTY POLICY



 BEFORE YOU USE THE JPAY KIOSK OR YOUR JPAY PLAYER AND THE SERVICES PROVIDED THEREUNDER,
 YOU MUST READ AND AGREE TO THESE TERMS OF SERVICE AND WARRANTY POLICY (THE
 “AGREEMENT”). WE MAY AMEND THIS AGREEMENT AT ANY TIME. YOU AGREE TO BE BOUND BY THE
 CHANGED TERMS AND CONDITIONS OF THIS AGREEMENT UPON YOUR ACCEPTANCE. ANY RIGHTS
 NOT EXPRESSLY GRANTED HEREIN ARE RESERVED BY JPAY. IF YOU CANNOT READ OR UNDERSTAND
 THESE TERMS OF SERVICE AND WARRANTY POLICY, PLEASE CONTACT CORRECTIONAL STAFF FOR
 FURTHER EXPLANATION AND CLARIFICATION.

  BY CLICKING THE “I AGREE” BUTTON, YOU ARE INDICATING THAT YOU CONSENT TO THIS
  AGREEMENT.

 1. USE OF THE KIOSK, YOUR JPAY PLAYER AND RELATED SERVICES. Your use of the JPay Kiosk
  (“Kiosk”) is a privilege. Misusing or damaging the Kiosk may lead to denial of this privilege,
  administrative and disciplinary sanctions, and/or legal action against you.

 These terms of service and warranty policy apply to all services you may access through the Kiosk or
 your JP3, JP4, JP5, JP5S, or JP5 Mini Player (each of which shall be referred to as a “Player”). These
 services include, but are not limited to, stamp purchases, email, VideoGrams, eCards, video visitation,
 phone account funding, music, games, video content, news, audio and eBooks, educational materials,
 and/or Player and Player accessory purchases (each a “Service” and collectively, the “Services”). Each
 correctional facility will determine which Services will be made available to you, in addition to the
 procedures and guidelines that govern the use of the Services.

 You are permitted to use only those Services that you are authorized to use under the jurisdictional
 administrative regulations applicable to you. ALL EMAIL AND OTHER CORRESPONDENCE AND
 COMMUNICATIONS BETWEEN YOU AND OTHERS IN CONNECTION WITH YOUR USE OF THE SERVICES
 ARE SUBJECT TO MONITORING, RECORDING, INTERCEPTION AND DISCLOSURE, AND ARE NOT
 PROTECTED BY ATTORNEY-CLIENT PRIVILEGE. If a correctional facility decides to censor an email, or if
 you decide to delete an email, any attachments to that email will also be removed from your account.
 Each email communication you send is subject to a character limit, and the number of emails which may
 be stored in your inbox is limited as well. Please check the Frequently Asked Questions (“FAQs”) for
 these limits applicable at your facility.


 2. FEES AND REFUNDS. Fees charged to you for certain of the Services may include the suggested
  retail price for the Service, as well as additional fees to cover infrastructure and network costs incurred
  by JPay in connection with the provision of these Services. You may also be charged sales tax where
  required. Depending on your facility’s administrative regulations, refunds or credits may be provided to
  you for certain of the Services, as described below. You will not, however, be entitled to a refund due to
  your inability to access any of the Services as a result of any downtime experienced by the Kiosks, your
  Player, or any of the specific Services.

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 The transfer of funds to your JPay Media Account is a non-refundable transaction, and funds in such
 Media Account are not transferable. JPay may make a deduction from your Media Account because of a
 dispute, legal process, reversed deposit, fees, a correction to your account, or other similar reasons. If
 such a deduction is necessary, notification will be provided to you. The availability and prices for the
 Services are subject to change without notice.

 If the facility in which you reside permits stamp purchases from your trust and / or JPay Media Accounts,
 such purchases may not be canceled, are non-refundable and any unused stamps will not be refunded.
 If the facility in which you reside permits debit phone time account funding from your trust account,
 such purchases may also not be canceled and are non-refundable.


 3.   JPAY PLAYERS AND CONTENT. All Player purchases are non-refundable. By purchasing a Player,
  you agree to the Player’s Limited Warranty listed in the following section as well as the Kiosk’s
  Frequently Asked Questions. If you have an issue with your Player during the warranty period, you must
  submit a trouble ticket to the JPay Help Desk on the Kiosk.

 The Player will ship to the correctional facility at which you reside at the time of purchase within forty-
 five (45) business days from the date of purchase. Depending on your facility’s own procedures, it may
 take additional time for the correctional facility staff to deliver the Player to you. JPay is not responsible
 for delays in delivery due to the actions or decisions of the correctional facility or events beyond JPay’s
 control, including shortage of materials, labor strikes, transportation failure, lockdown, facility
 disruption, inclement weather or acts of God.

 As used in this Agreement, “Content” includes content and components thereof purchased from JPay,
 including games, music, news, software, technology, text, books, sound, graphics, pictures, video, code,
 and all audiovisual or other material appearing on or transmitted to and/or from the Kiosk and/or
 Player. JPay does not guarantee the accuracy or reliability of the Content or that it is error-free. You
 understand that you may be exposed to Content that may be deemed offensive, indecent, or
 objectionable. You agree to use the Content at your sole risk and that JPay will have no liability to you
 for Content found to be offensive, indecent, or objectionable.

 JPay may change Content options without notice. The download time or functionality of any of our
 Services may vary depending on the network and connectivity at your facility. On occasion, purchased
 Content may become unavailable prior to download and previously purchased and downloaded Content
 may be removed from your Player while you are a resident at the correctional facility. In such cases,
 JPay will issue you a credit, which may be used for a future purchase while you are a resident at a
 correctional facility in the state agency from which you purchased the Content. If JPay provides you
 with a replacement Player pursuant to the terms of the warranty or if you or a friend or family member
 purchase a new Player, previously downloaded news Content will not be accessible on the new Player.

 The Content is provided for your personal, non-commercial entertainment use. During your
 incarceration, you may only access and view the Content and/or Services while you are a resident at a
 correctional facility in the state agency where you purchased such Content and/or Services.

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 All Content embodies the intellectual property of a third party and is protected by law. You agree not to
 modify, or attempt to modify, any Content for any reason whatsoever, unless expressly authorized or
 stated within the applicable legal notices. Content and all other intellectual property rights in or to the
 Content are owned by JPay or JPay's third party licensors and is protected by United States and
 international copyright, trade dress, patent, and trademark laws, international conventions, and other
 laws protecting intellectual property and related proprietary rights. In addition, unless expressly
 authorized by JPay or stated in the applicable legal notices, you shall not distribute, publicly perform or
 display, lease, sell, transmit, transfer, publish, edit, copy, create derivative works from, rent, sub-license,
 decompile, disassemble, reverse engineer, or otherwise make unauthorized use of the Content.

 After Your Release

 After your release from the correctional facility, you may have the security features removed from your
 Player (“unlocked”) so that certain Content may be accessible to you outside of the correctional facility.
 This only applies to Players that were purchased by you or a friend or family member.

 To have your Player unlocked, you must mail in the Player and include the following in the package:
     • Player
     • Your Inmate ID #
     • Telephone Number
     • Return Mailing Address

 Please mail the Player package to:
 JPay Inc.
 ATTN: Inventory Department
 12034 Miramar Parkway
 Miramar, FL 33025

 Upon receipt of the Player by JPay, if JPay determines the Player is functioning, games and music
 purchases downloaded on the device and music in your library at the time of your release will be made
 accessible to you through your unlocked Player. JPay will mail to you the unlocked Player containing
 those games and music and, if necessary, a USB drive containing music in your library. Any saved emails
 and their attachments as well as VideoGrams will not be made available to you upon your release.

 If JPay determines that the Player is not functioning, JPay will return to you the non-functioning Player
 along with a USB drive containing your music purchases only. Games and any saved emails and their
 attachments will not be included with the USB contents.

 Please allow up to forty-five (45) business days for delivery of the unlocked Player or USB drive. After
 forty-five (45) business days, you may follow up on the status of your unlocked Player or USB drive by
 contacting JPay via email at tabletunlocksupport@jpay.com.


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 Movies, Television Shows, and Other Video Rentals
 In certain correctional facilities, JPay may make available for rental and viewing a selection of full-length
 movies, episodes of television shows, and other videos (collectively hereafter referred to as "Video
 Content"). This Video Content is available for a limited viewing period only and is not a permanent
 download. Beginning when you first rent the Video Content, it will be available on your Player for a
 period of thirty (30) days (the "rental period"). After the rental period ends, the Video Content will
 delete from your Player, whether or not you have viewed the Video Content. If you wish to view the
 Video Content after the rental period ends, you must rent it again. Within the thirty (30)-day rental
 period, when playback of the Video Content first begins you will have forty-eight (48) hours to view the
 content, after which the Video Content will delete from your Player. In this case, the Video Content will
 be listed as “Expired” with the option to rent it again (if it is still available for rent). Note that if you
 begin watching the Video Content on the last day of the thirty (30)-day rental period, you will only have
 until midnight that day to finish viewing, not the full forty-eight (48) hours.

 This Video Content service is only available in the correctional facilities. Once you are released, JPay will
 no longer provide the rental service to you, even if you retain ownership of your Player.

 4. PLAYER LIMITED WARRANTY. JPay warrants that the Player will be free from material defects in
  design and manufacture and will substantially conform to the published specifications under normal
  use for a period of ninety (90) days following the date on which you first connect the Player to the
  Kiosk. In certain States, the warranty period may be longer. Please check the Frequently Asked
  Questions" (“FAQs”) to know the warranty period that applies to your correctional institution. This
  warranty is provided to you and is not transferable. The warranty is void if the product is not used in
  accordance with the product instructions, or if it is damaged as a result of misuse, unauthorized repair,
  modification or accident. JPay shall not be liable if a certain component, accessory, or feature is not
  available on the Player due to restrictions imposed by the applicable correctional facility.

 To obtain warranty service, you must submit a Trouble Ticket to the JPay Help Desk on the Kiosk. JPay
 will attempt to troubleshoot the issue. If further assistance is needed, JPay will repair or replace the
 product or any portion thereof with a new or refurbished product of equal or greater capacity and
 functionality. A replacement Player assumes (i) the remaining warranty time available on the original
 Player (which is calculated from the date that you first submit a Trouble Ticket), or (ii) a warranty period
 of thirty (30) days following the date the replacement Player is delivered to the facility in which you
 reside, whichever date is later.

 JPay will repair or replace any defective earbud headphones (that accompanied your Player) if you
 submit a Trouble Ticket within two (2) weeks of your receipt of the earbud headphones. If you are a
 resident of a correctional facility in the State of Idaho, however, you will have thirty (30) days to submit
 the Trouble Ticket regarding the defective earbud headphones.

 If JPay determines that you qualify for a replacement Player or earbud headphones under our Return
 Merchandise Authorization (RMA) process, JPay will ship the replacement product to the correctional
 facility at which you reside within forty-five (45) business days from the date the Trouble Ticket

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 generating the RMA was submitted. Depending on your facility’s own procedures, it may take additional
 time for the correctional facility staff to deliver the Player to you. JPay will not be responsible for delays
 in delivery due to the actions or decisions of the correctional facility or events beyond JPay’s control,
 including shortage of materials, labor strikes, transportation failure, lockdown, facility disruption,
 inclement weather or acts of God.

 JPay does not warrant, and shall not be responsible for, any lost Content or data contained in the Player
 regardless of the cause of the loss. JPay's products are not warranted to operate without failure. This
 warranty gives you specific legal rights, and you may also have other rights which vary by jurisdiction.

 JPay is not responsible for damage to the Player arising from failure to follow instructions relating to the
 Player’s use. This warranty does not apply to: (a) cosmetic damage, including but not limited to,
 scratches and dents; (b) damage caused by accident, abuse, misuse, liquid spill or submersion, flood,
 fire, earthquake, or other external causes; (c) damage caused by service on the Player performed by
 anyone who is not a JPay representative; (d) a Player that has been modified; or (e) a Player confiscated
 by correctional staff.


 5. PLAYER ACCESSORIES. If the correctional facility in which you reside permits the purchase of
 accessories, including but not limited to, USB cables, barrel chargers, headphones and/or armbands
 (each an “Accessory” and collectively, the “Accessories”), such purchases are non-refundable. By
 purchasing an Accessory, you agree to the Accessory’s Warranty listed in the following section as well as
 the Kiosk’s Frequently Asked Questions. If you have an issue with your Accessory during the warranty
 period, you must submit a trouble ticket to the JPay Help Desk.

 JPay will not be liable for any loss, destruction or damage to the Accessory. JPay provides the Accessory
 subject to the rules and policies of your correctional facility. You may only own one of each Accessory
 available.

 Accessories must be used in compliance with all applicable laws, rules and regulations. Use of the
 Accessory is a privilege and misuse may lead to denial of this privilege, confiscation of the Accessory,
 administrative and disciplinary sanctions, and/or legal action.

 JPay will ship Accessories to the correctional facility at which you resided at the time of purchase within
 fifteen (15) business days from the date of purchase. Depending on your facility’s own procedures, it
 may take additional time for the correctional facility staff to deliver the Accessory to you. JPay is not
 responsible for delays in delivery due to the actions or decisions of the correctional facility or events
 beyond JPay’s control, including shortage of materials, labor strikes, transportation failure, lockdown,
 facility disruption, inclement weather, or acts of God.


 6. ACCESSORY LIMITED WARRANTY. JPay warrants that the Accessory will be free from material
 defects in design and manufacture and will substantially conform to the published specifications under
 normal use for a period of sixty (60) days following the date the Accessory was purchased. This
 warranty is provided to you and is not transferable. The warranty is void if the product is not used in

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 accordance with the product instructions, or if it is damaged as a result of misuse, unauthorized repair,
 modification, or accident. This sixty (60)-day warranty period applies only to Accessories purchased
 separately from any Player.

 To obtain warranty service, you must submit a Trouble Ticket to the JPay Help Desk within the sixty (60)-
 day warranty period. JPay will attempt to troubleshoot the issue. If further assistance is needed, JPay
 will repair or replace the product or any portion thereof with a new or refurbished product of equal or
 greater capacity and functionality. A replacement Accessory assumes (i) the remaining warranty time
 available on the original Accessory (which is calculated from the date that you first submit a Trouble
 Ticket), or (ii) a warranty period of thirty (30) days following the date the replacement Accessory is
 delivered to the facility in which you reside, whichever date is later.

 JPay will ship replacement Accessories to the correctional facility at which you resided at the time the
 replacement was requested within fifteen (15) business days from JPay’s approval of the replacement.
 Depending on your facility’s own procedures, it may take additional time for the correctional facility
 staff to deliver the replacement Accessory to you. JPay is not responsible for delays in delivery due to
 the actions or decisions of the correctional facility or events beyond JPay’s control, including shortage of
 materials, labor strikes, transportation failure, lockdown, facility disruption, inclement weather, or acts
 of God.

 JPay is not responsible for damage arising from failure to follow instructions relating to the product’s
 use. This warranty does not apply: (a) to cosmetic damage, including but not limited to, scratches and
 dents; (b) to damage caused by accident, abuse, misuse, liquid spill or submersion, flood, fire,
 earthquake or other external causes; (c) to damage caused by service performed by anyone who is not a
 representative of JPay; or (d) to an Accessory that has been confiscated by correctional staff.

 Notwithstanding the foregoing, JPay provides the Accessory subject to the rules and policies of each
 applicable correctional facility.

 THE FOREGOING IS JPAY’S SOLE WARRANTY. JPAY DISCLAIMS ALL OTHER EXPRESS AND IMPLIED
 WARRANTIES TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW. JPAY IS NOT LIABLE OR
 RESPONSIBLE FOR ANY AMOUNT OF DAMAGES ABOVE THE AGGREGATE DOLLAR AMOUNT PAID BY YOU
 FOR THE PURCHASE OF THE PLAYER AND/OR ACCESSORY. SOME STATES DO NOT ALLOW THE
 EXCLUSION OR LIMITATION OF INCIDENTAL OR CONSEQUENTIAL DAMAGES, SO THE ABOVE LIMITATION
 OR EXCLUSION MAY NOT APPLY TO YOU.

 THE KIOSK, PLAYER, CONTENT, AND SERVICES ARE PROVIDED BY JPAY INC. ON AN "AS IS" AND "AS
 AVAILABLE" BASIS. JPAY MAKES NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, EXPRESS OR
 IMPLIED, AS TO THE OPERATION OF THE KIOSK, PLAYER, OR SERVICES. YOU EXPRESSLY AGREE THAT
 YOUR USE OF THE KIOSK, PLAYER, AND SERVICES IS AT YOUR SOLE RISK.

 TO THE FULL EXTENT PERMISSIBLE BY APPLICABLE LAW, JPAY DISCLAIMS ALL WARRANTIES, EXPRESS OR
 IMPLIED, INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY AND FITNESS
 FOR A PARTICULAR PURPOSE. JPAY (AS WELL AS ITS OFFICERS, DIRECTORS, EMPLOYEES, AFFILIATES,
 AND STOCKHOLDERS) WILL NOT BE LIABLE FOR ANY DAMAGES OF ANY KIND ARISING FROM THE USE OF
 THE KIOSK, A PLAYER, AN ACCESSORY AND / OR THE SERVICES, ANY NON-TRANSMITTAL OF A
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 COMMUNICATION, OR FOR DELAY OR ERRONEOUS DELIVERY OF A COMMUNICATION, REGARDLESS OF
 THE CAUSE, INCLUDING, WITHOUT LIMITATION, DIRECT, INDIRECT, INCIDENTAL, PUNITIVE, AND
 CONSEQUENTIAL DAMAGES.

 CERTAIN STATE LAWS DO NOT ALLOW LIMITATIONS ON IMPLIED WARRANTIES OR THE EXCLUSION OR
 LIMITATION OF CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR ALL OF THE ABOVE
 DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU, AND YOU MAY HAVE
 ADDITIONAL RIGHTS.

 7. GOVERNING LAW. This Agreement and the rights of the parties hereunder shall be governed by
 and construed in accordance with the laws of the State of Florida, exclusive of conflict or choice of law
 rules.

 8.   DISPUTE RESOLUTION.
 THIS AGREEMENT REQUIRES THE USE OF ARBITRATION ON AN INDIVIDUAL BASIS TO
 RESOLVE DISPUTES, RATHER THAN JURY TRIALS OR CLASS ACTIONS.
 About Arbitration:

 In the event JPay is unable to resolve a complaint you may have to your satisfaction (or if JPay has not
 been able to resolve a dispute it has with you after attempting to do so), we each agree to resolve those
 disputes through binding arbitration instead of in court. Arbitration is more informal than a lawsuit in
 court. Arbitration uses neutral arbitrators instead of a judge or jury, allows for more limited discovery
 than in court, and is subject to very limited review by courts. Any arbitration under this Agreement will
 take place on an individual basis; class arbitrations and in court class actions are not permitted.

 Arbitration Agreement:

 a)       Any dispute, claim or controversy among the parties arising out of or relating to this Agreement
 (“Dispute”) shall be finally resolved by and through binding arbitration administered by JAMS pursuant
 to its Comprehensive Arbitration Rules and Procedures and in accordance with the Expedited
 Procedures in those Rules (the “JAMS Rules”), provided that failure to adhere to any of the time limits
 set forth therein shall not be a basis for challenging the award.

 You may obtain copies of the current rules and forms and instructions for initiating arbitration by
 contacting JAMS in any of the following ways:

 By mail:
 JAMS, The Resolution Experts
 600 Brickell Avenue
 Suite 2600
 Miami, FL 33131

 Online:
 Web site: www.jamsadr.com

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 By telephone:
 1 (800) 352-5267

 You agree that, by entering into this Agreement, you and JPay are each waiving the right to a trial by
 jury or to participate in a class action or class arbitration. Both the foregoing agreement of the parties
 to arbitrate any and all Disputes, and the results, determinations, findings, judgments and/or awards
 rendered through any such arbitration, shall be final and binding on the parties and may be specifically
 enforced by legal proceedings in any court of competent jurisdiction.

 b)       The arbitration shall be conducted by three (3) arbitrators (unless the parties mutually agree to
 less). Each party shall select one arbitrator within thirty (30) days of commencement of the arbitration,
 failing which, upon request of any party, JAMS shall appoint such arbitrator. The third arbitrator, who
 shall serve as Chairperson of the arbitral panel, shall be appointed by JAMS pursuant to Rule 15 of the
 JAMS Rules. The arbitrators must apply the terms of this arbitration agreement, including without
 limitation, the waiver of class-wide arbitration set forth below.



 c)       The place of arbitration shall be Miami, Florida (provisions will be made for telephonic
 appearances if necessary or required). If arbitration in Miami, Florida is contrary to law, the arbitration
 shall be conducted in the city of your incarceration.



 d)     The cost of the arbitration proceeding, including, without limitation, each party's attorneys' fees
 and costs, shall be borne by the unsuccessful party or, at the discretion of the arbitrators, may be
 prorated between the parties in such proportion as the arbitrators determine to be equitable and shall
 be awarded as part of the award.



 e)       The arbitration provisions set forth herein, and any arbitration conducted thereunder, shall be
 governed exclusively by the Federal Arbitration Act, Title 9 United States Code, to the exclusion of any
 state or municipal law of arbitration.



 f)     RESTRICTIONS ON ARBITRATION: ALL DISPUTES, REGARDLESS OF THE DATE OF ACCRUAL OF
 SUCH DISPUTE, SHALL BE ARBITRATED ON AN INDIVIDUAL BASIS. YOU ARE WAIVING YOUR RIGHT TO
 PARTICIPATE IN A CLASS ACTION LAWSUIT, AND TO CERTAIN DISCOVERY AND OTHER PROCEDURES
 THAT ARE AVAILABLE IN A LAWSUIT. FURTHER, YOU ARE WAIVING, AND WILL NOT HAVE, THE RIGHT TO
 CONSOLIDATION OR JOINDER OF INDIVIDUAL DISPUTES OR ARBITRATIONS, TO HAVE ANY DISPUTE
 ARBITRATED ON A CLASS ACTION BASIS, OR TO PARTICIPATE IN A REPRESENTATIVE CAPACITY OR AS A
 MEMBER OF ANY CLASS PERTAINING TO ANY CLAIM SUBJECT TO ARBITRATION. FURTHER, YOU AND
 JPAY AGREE THAT THE ARBITRATORS HAVE NO AUTHORITY TO ORDER CONSOLIDATION OR CLASS

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 ARBITRATION OR TO CONDUCT ANY FORM OF REPRESENTATIVE OR CLASS-WIDE ARBITRATION
 PROCEEDINGS, AND ARE ONLY AUTHORIZED TO RESOLVE THE INDIVIDUAL DISPUTES BETWEEN YOU
 AND JPAY ALONE.



 g)     THE SCOPE, VALIDITY, EFFECT, AND ENFORCEABILITY OF THE FOREGOING WAIVER OF CLASS
 ACTION LAWSUIT AND REPRESENTATIVE OR CLASS-WIDE ARBITRATION ARE TO BE DETERMINED SOLELY
 AND EXCLUSIVELY BY THE FEDERAL DISTRICT COURT LOCATED IN THE SOUTHERN DISTRICT OF FLORIDA
 OR FLORIDA STATE COURT IN MIAMI-DADE COUNTY AND NOT BY JAMS OR ANY ARBITRATOR. IF A
 LAWSUIT IS FILED TO ENFORCE THESE WAIVERS THE PARTIES AGREE THAT THE ARBITRATION SHALL BE
 IMMEDIATELY STAYED, BY AGREEMENT OR COURT ORDER, UNTIL THE COURT CASE IS RESOLVED AND
 ALL APPELLATE REVIEW IS EXHAUSTED. THE COST OF PROCEEDINGS UNDER THIS SECTION, INCLUDING,
 WITHOUT LIMITATION, EACH PARTY'S ATTORNEYS' FEES AND COSTS, SHALL BE BORNE BY THE
 UNSUCCESSFUL PARTY.

 h)       WITHOUT WAIVING THE RIGHT TO APPEAL SUCH DECISION, SHOULD ANY PORTION OF SECTION
 (8)(f) BE STRICKEN FROM THIS AGREEMENT OR DEEMED OTHERWISE INVALID OR UNENFORCEABLE,
 THEN THIS ENTIRE SECTION 8 (OTHER THAN THIS SENTENCE) SHALL BE STRICKEN FROM THIS
 AGREEMENT AND INAPPLICABLE, AND ANY AND ALL DISPUTES SHALL PROCEED IN FEDERAL DISTRICT
 COURT LOCATED IN THE SOUTHERN DISTRICT OF FLORIDA OR FLORIDA STATE COURT IN MIAMI-DADE
 COUNTY AND BE DECIDED BY A JUDGE, SITTING WITHOUT A JURY, ACCORDING TO APPLICABLE COURT
 RULES AND PROCEDURES, AND NOT AS A CLASS ACTION LAWSUIT.


 9. TIME LIMIT FOR FILING CLAIMS. As a condition precedent to recovery, all claims under this
 Agreement (other than warranty claims which are subject to the time limits set forth in Sections 4 and 6)
 must be filed in writing or electronically with JPay within six (6) months of your constructive knowledge
 that the alleged issue occurred.

 Further, any demand for arbitration must be filed no later than one (1) year after your constructive
 knowledge that the alleged issue occurred.

 Where claims are not filed or arbitration is not instituted thereon in accordance with the foregoing
 provisions, such claims shall be deemed waived and will not be paid.


 10. INDEMNIFICATION. To the maximum extent permitted by law, you agree to defend, indemnify and
 hold harmless JPay, its affiliates and their respective directors, officers, employees and agents from and
 against any and all third party claims, actions, suits or proceedings, as well as any and all losses,
 liabilities, damages, costs and expenses (including reasonable attorney’s fees) arising out of or accruing
 from (a) your breach of this Agreement, and (b) your use of the Services.

 11. SEVERABILITY. If any provision of the Agreement shall be ruled unenforceable, then the remainder
 shall be enforced to the extent permissible.



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 12. ENTIRE AGREEMENT. This Agreement sets forth the entire agreement with respect to the subject
 matter hereof. The Agreement may not be altered, supplemented, or amended by the use of any other
 document(s). Notwithstanding the foregoing, the rules and policies of the applicable correctional facility
 may also govern the sale and use of the Player.




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